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Orlando Division

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GOVERNMENT EXHIBIT
Exhibit No.: 2

Case No.: 6:24-mj-2118-DCI
UNITED STATES OF AMERICA
vs.

MICHAEL SCHEUER

Date Identified: | | (s\ LA

Date Admitted: \ \ IS \ia

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